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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LEVI STRAUSS & CO.,
Case No. 18-cv-07459
Plaintiff,
Judge Charles R. Norgle
V.

Magistrate Judge Maria Valdez

SHENZHEN BARFLIN INVESTMENT CO.,
LTD., et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on February 7, 2019 [42], in
favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in
Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant for
willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of
products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of
an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

 

 

 

 

 

Defendant Name Line No.
VEITCHE Official Store 44
ailifang 61
- aoshiguxing 67
bus . 85
candycolor 88
chenkaichenkaikai 97
CityVideo 103
guan tao wei ran trade co.,ltd 141

 

 

 
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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

Dated this 17th day of May 2019.

Respectfully submitted,

LAL ZL

Amy C. Ziegler /

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Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 17th day of May 2019.

Given under by hand and notarial seal.

CAITLIN SCHLIE
Official Seal

Notary Public ~ State of illinois
My Commission Expires Nov 20, 2021

 

(idde Se—

Notary Public

State of Illinois
County of Cook
